        Case 2:17-cv-02592-GJP Document 38 Filed 02/02/18 Page 1 of 22




                            UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF PENNSYLVANIA

                                                                                                     FILED
 IN RE: LINCOLN NATIONAL COI LITIGATION                              No. 16-cv-06605-GJP
                                                                                                     FEB - 2 2018
                                                                                                Bf.KATE BARKMAN, Clerk
                                                                                                  -----Oep. Clerk
 EFG BANK AG, CAYMAN BRANCH, et al.,

                             Plaintiffs,
                 v.                                                  No. l 7-cv-02592-GJP       ~

 THE LINCOLN NATIONAL LIFE INSURANCE
 COMPANY,

                             Defendant.


 STIPULATED                                CONFIDENTIALITY AND PROTECTIVE ORDER

        WHEREAS Plaintiffs and Defendants are engaged in the process of discovery in the above-

captioned lawsuits (the "Actions" (as defined below));

        WHEREAS Discovery in the Actions may involve production of confidential and

proprietary actuarial, business, technical, and financial information as well as private information

of Plaintiffs for which special protection from public disclosure and from use for any purpose other

than prosecuting or defonding the Actions may be warranted;

        WHEREAS this Stipulated Confidentiality and Protective Order ("Protective Order" or

"Order") provides reasonable restrictions on the use and disclosure of Confidential Information

and Highly Confidential Information-Attorneys' Eyes Only;

        WHEREAS the Parties (as defined below) acknowledge, as set forth in Section C.3. of the

Honorable Judge Gerald J. Pappert's Policies and Procedures, that this Protective Order does not

entitle them to file confidential information under seal, and that Local Rules 5.1.2, 5.1.3, 5.1.5 and

the Honorable Judge Gerald J. Pappert's Policies and Procedures set forth the rules that must be
        Case 2:17-cv-02592-GJP Document 38 Filed 02/02/18 Page 2 of 22




followed and the standards that will be applied when a party seeks pennission from the Court to

file material under seal;

        THEREFORE Plaintiffs and Defendants Lincoln National Corporation ("Lincoln

National") and The Lincoln National Life Insurance Company ("Lincoln Life"; together,

"Lincoln"), hereby stipulate to and petition the Court to enter the following Protective Order. The

parties acknowledge that this Protective Order does not confer blanket protections on all

disclosures or responses to discovery and that the protection it affords from public disclosure and

use extends only to the limited infonnation or items that are entitled to confidential treatment under

the applicable legal principles.

        IT IS HEREBY STIPULATED AND ORDERED THAT the following procedures shall

be employed and the following restrictions shall govern all methods for the exchange of Protected

Material (as defined below), including without limitation, the handling of documents, electronic

data, depositions, pleadings, response to discovery requests, exhibits and all other information

produced or otherwise disclosed, inspected and/or copied in any form in the Actions, and as part

of any motions, briefs or other filings, and any court filings permitted to be made under seal.

        Any Party for good cause shown may apply to the Court for modification of this Protective

Order. The Court reserves its inherent power to modify the terms of this Protective Order and

permit the disclosure of information where the interest ofjustice so requires. This Court will retain

jurisdiction over all persons subject to this Order to the extent necessary to enforce any obligations

arising hereunder or to impose sanctions for any contempt thereof.

1.     DEFINITIONS

        1.1    Actions: In re Lincoln National CO! Litigation, Case No. l 6-cv-06605-GJP, and

EFG Bank AG, Cayman Branch, et al. v. The Lincoln National Life Ins. Co., No. l 7-cv-02592-
GJP.

       1.2     Challenging Party: A Party or Non-Party (as defined below) that challenges the

designation of infommtion or items under this Protective Order.



                                                  2
        Case 2:17-cv-02592-GJP Document 38 Filed 02/02/18 Page 3 of 22




        1.3     "CONFIDENTIAL" Information or Items:                   Confidential   proprietary or

commercially sensitive business and financial information, trade secrets, and personal information

which is not generally known or publicly available or which the Designating Party (as defined

below) would not normally reveal to third parties or information that otherwise meets the standard

for protection set forth in Rule 26(c) of the Federal Rules of Civil Procedure. It is the intent of the

Parties that infonnation will not be designated as confidential for tactical reasons ·and that nothing

will be so designated without a good faith belief that it has been maintained in a confidential non-

public manner, and there is good cause why it should not be part of the public record of the Actions.

        1.4     Counsel: Outside Counsel of Record (as defined below) and House Counsel (as

defined below), including in each case their respective support staff

        1.5     Designating Party:     A Party or Non-Party (as defined below) that designates

information or items that it produces or that are produced in disclosures or in response to discovery

as "CONFIDENTIAL" or "HIGHLY CONFIDENTIAL-ATTORNEYS' EYES ONLY."

        1.6     Disclosure or Discovery Material: All items or information, regardless of the

medium or manner in which it is generated, stored, or maintained (including, among other things,

testimony, transcripts, and tangible things), that are produced or generated in disclosures or

responses to discovery in this matter.

        1. 7    Expert: A person with specialized knowledge or experience in a matter pertinent

to the litigation who has been retained by a Party or its Counsel to serve as an expert witness or as

a consultant in any of the Actions and who is not a past or current employee of a Party or a current

employee of a Party's competitor and who, at the time of retention, is not anticipated to become

an employee of a Party or a competitor of a Party. This definition includes a professional jury or

trial consultant retained in connection with this litigation.

        1.8     "HIGHLY CONFIDENTIAL-ATTORNEYS' EYES ONLY" Infonnation or

Items: "Confidential Information or Items," disclosure of which to another Party or Non-Party (as

defined below) would create a substantial risk of serious harm that could not be avoided by less

restrictive means. It is the intent of the parties that information will not be designated as HIGHLY
                                                   3
        Case 2:17-cv-02592-GJP Document 38 Filed 02/02/18 Page 4 of 22




CONFIDENTIAL-ATTORNEYS' EYES ONLY for tactical reasons and that nothing will be so

designated without a good faith belief that it is entitled to this level of protection, and there is good

cause why it should not be part of the public record of these Actions.

        1.9     House Counsel: An attorney who is an employee of a party to the Actions or of an

entity that owns an interest in a party to the Actions, and is responsible for controlling or directing

the litigation. House Counsel does not include Outside Counsel of Record or any other outside

counsel.

        1.1 O   Non-Party: Any natural person, partnership, corporation, association, or other legal

entity not named as a Party to the Actions.

        1.1 l   Notice: Unless otherwise specified, all communications required by this Protective

Order shall be made by email, followed within three (3) days by a confirmatory hard copy mailing.

The lists of counsel designated by each of the Parties to receive Notice are set forth in the attached

Exhibit B.

        1.12    Outside Counsel of Record: Attorneys who are not employees of a Party to the

Actions but are retained to represent or advise a Party to the Actions and have appeared in these

Actions on behalf of that Party or are affiliated with a law firm which has appeared at any time on

behalf of that Party, and includes support staff

        1.13    Party: Any party to these Actions, including all of its officers, directors, and

employees.

        1.14    Parent: An entity that owns, or conducts the business affairs of, the Receiving Party

(as defined below) and is responsible for controlling and directing the litigation on behalf of the
Receiving Party.

        l.15    Producing Party: A Party or Non-Party that produces Disclosure or Discovery
Material in these Actions.

       1.16     Professional Vendors: Persons or entities that provide litigation support services

(e.g., photocopying, court or deposition reporting, videotaping, translating, preparing exhibits or



                                                   4
            Case 2:17-cv-02592-GJP Document 38 Filed 02/02/18 Page 5 of 22




demonstrations, and organizing, storing, or retrieving data in any form or medium) and their

employees and subcontractors.
            1.1 7   Protected Material: Any Disclosure or Discovery Material that is exchanged in the

course of the Actions designated as "CONFIDENTIAL" or ''HIGHLY CONFIDENTIAL-

ATTORNEYS' EYES ONLY."
            1.18    Receiving Partx: A Party that receives Disclosure or Discovery Material from a

Producing Party.

2.          SCOPE
            The protections conforred by this Protective Order cover not only Protected Material (as

defined above), but also (1) any information copied or extracted from Protected Material; (2) all

copies, excerpts, summaries, or compilations of Protected Material; and (3) any testimony,

conversations, or presentations by Parties, their Counsel, or their Experts that might reveal

Protected Material. Any use of Protected Material at trial for either Action shall be govemed by

the orders of the trial judge. This Protective Order does not govern the use of Protected Material

at trial.

3.          DURATION
            Even after final disposition of this litigation, the obligations imposed by this Protective

Order shall remain in effoct until a Designating Party agrees otherwise in writing or a court order

otherwise directs. Final disposition shall be deemed to be the later of (1) dismissal of all claims

and defenses in these Actions, with or without prejudice; and (2) final judgment herein after the

completion and exhaustion of all appeals, rehearings, remands, trials, or reviews of the Actions,

including the time limits for filing any motions or applications for extension of time pursuant to

applicable law. The duration for documents to remain filed under seal will be governed by

E.D.P.A. Local Rule 5.LS(c).

4.          DESIGNATING PROTECTED MATERIAL
            4. t    Exercise of Restraint and Care in Designating Material for Protection: Each Party

or Non-Party that designates Disclosure or Discovery Material as Protected Material under this
                                                    5
       Case 2:17-cv-02592-GJP Document 38 Filed 02/02/18 Page 6 of 22




 Protective Order must take care to limit any such designation to specific material that qualifies

under the appropriate standards. If it comes to a Designating Party's attention that information or

items that it designated for protection do not qualify for protection, then that Designating Party

must promptly notify all other Parties that it is withdrawing the inapplicable designation.

        4.2     Manner and Timing of Designations:          Except as otherwise provided in this

Protective Order, or as otherwise stipulated or ordered, Protected Material must be clearly so

designated before the material is disclosed or produced. Designation in conformity with this

Protective Order requires:

        (a) For information in documentary form (e.g., paper or electronic documents, but

excluding transcripts of depositions or other pretrial or trial proceedings), that the Producing Party

affix at a minimum, the legend "CONFIDENTIAL" or "HIGHLY CONFIDENTIAL-

ATTORNEYS' EYES ONLY'', to each page that will be produced. For information in electronic

form that cannot have a legend affixed to each page (e.g., excel files or other data files), the

Producing Party will produce materials in a manner consistent with the agreed upon Electronic
Discovery Protocol for the Actions.

       A Party or Non-Party that makes original documents available for inspection need not

designate them for protection until after the inspecting Party has indicated which documents it

would like copied and produced. During the inspection and before the designation, all of the

material made available for inspection shall be deemed "HIGHLY CONFIDENTlAL-

ATTORN EYS' EYES ONLY." After the inspecting Party has identified the documents it wants

copied and produced, the Producing Party must determine which documents, or portions thereof,

qualify for protection under this Protective Order.        Then, before producing the specified

documents,    the   Producing   Party   must affix the "CONFIDENTIAL" or                  "HIGHLY

CONFIDENTIAL--ATTORNEYS EYES ONLY" to each page that will be produced.

Documents inspected by a Party that are not identified by such Party for copying and production

shall remain designated "HIGHLY CONFIDENTIAL-ATTORNEYS' EYES ONLY."


                                                 6
        Case 2:17-cv-02592-GJP Document 38 Filed 02/02/18 Page 7 of 22




        (b) For information produced in some form other than documentary and t<.)r any other

tangible items, Protected Material shall be designated and/or categorized by the Producing Party

in a writing provided to the Receiving Party at the time of production as "CONFIDENTIAL" or

"HIGHLY CONFIDENTIAL-ATTORNEYS' EYES ONLY."

        (c) For deposition exhibits, portions of deposition testimony, or any video recording of a

deposition proceeding, any Party or Non-Party may designate as Protected Material deposition

exhibits or portions of deposition testimony by informing the reporter (and videographer, if

applicable) during the deposition or by sending, within thirty (30) days after the repo.rter makes

the final uncorrected deposition transcript available to all parties, a letter to all attorneys of record

and to the deposition reporter (and videographer, if applicable) designating the exhibits to be so

restricted, designating by page and line any portions of transcript to be so restricted, or the entire

transcript if applicable, and specifying the level of protection being asserted. If all or a portion of

a proceeding is videotaped, the video recording will have the same level of protection that is

designated by a Party for the transcript of the proceeding.

        When deposition exhibits or deposition testimony are designated Protected Material by

informing the reporter during the deposition, the transcript and any exhibits containing Protected

Material shall have an obvious legend on the title page indicating that the transcript and exhibits

contain Protected Material. If any portion of a videotaped proceeding is designated pursuant to

this section, the videocassette or other video container shall be labeled with the appropriate

confidentiality designation.     The Designating Party shall infonn the court reporter (and

videographer, if applicable) of this requirement.

        During the 30-day period following first availability of the final uncorrected deposition

transcript, deposition exhibits, the deposition transcript, and/or the video recording will be

designated "HIGHLY CONFIDENTIAL-ATTORNEYS' EYES ONLY" in their entirety unless

otherwise agreed. After the expiration of that period, the deposition exhibits, the deposition

transcript, or the video recording shall be treated as actually designated. If no designation is made

within the 30-day period, the materials shall be considered to not contain any Protected Material.
                                                    7
        Case 2:17-cv-02592-GJP Document 38 Filed 02/02/18 Page 8 of 22




        Parties shall give the other parties Notice if they reasonably expect a deposition, hearing

or other proceeding to include Protected Material so that the other parties can ensure that only

individuals who are authorized to attend and who have signed the Non-Disclosure Agreement

(Exhibit A) are present at those proceedings. The use of a document as an exhibit at a deposition

shall not in any way affect its designation as "CONFIDENTIAL" or "HIGHLY

CONFIDENTIAL-ATTORNEYS' EYES ONLY."
        4.3    Inadvertent Failures to Designate: If at any time before the trial of these Actions a

Producing Party realizes that it should have designated as Protected Material documents that were

previously produced without limitation, the Producing Party may so designate such material by

providing prompt Notice to all prior recipients in writing, and providing recipients with

replacement documents marked as required by Paragraph 4.2(a) of this Protective Order.

Thereafter, all Parties and persons subject to this Order will treat such Protected Material in
accordance with the provisions of this Protective Order. All earlier versions of such documents

shall be promptly destroyed or returned to the Producing Party within ten (10) days.

5.      CHALLENGING CONFIDENTIALITY DESIGNATIONS
        5. t   Timing of Challenges: Any Party may object to any designation of confidentiality,

or may request greater limits on disclosure than those indicated by the Designating Party, at any

time before the trial(s) of these Actions. A Party who objects to any designation of confidentiality,
or requests greater limits on disclosure, shaU serve Notice upon counsel for the Designating Party

stating with particularity the grounds of the objection or request. Unless a prompt challenge to a

Designating Party's confidentiality designation is necessary to avoid foreseeable, substantial

unfairness, unnecessary economic burdens, or a significant disruption or delay of the Actions, a

Party or Non-Party does not waive its right to challenge a confidentiality designation by electing

not to mount a challenge promptly after the original designation is disclosed.

       5.2     Meet and Confer/Judicial Intervention: The Challenging Party shall make a good

faith effort to resolve the dispute with the Designating Party pursuant to the procedures set forth

in Section C.2 of Judge Pappert's Policies and Procedures. lf the Parties cannot resolve the issue
                                                 8
        Case 2:17-cv-02592-GJP Document 38 Filed 02/02/18 Page 9 of 22




 regarding the confidentiality designation, then it shall be the obligation of the Challenging Party

 to initiate the process of submitting a joint letter to chambers explaining the dispute and the

 requested relief: and thereafter take actions consi.stent with Section C.2, so that the Court can

 determine whether the disputed information should be su~ject to the terms of this Protective Order.

         The burden of persuasion in any such challenge shall be on the Designating Party. Unless

 the Designating Party has agreed to change the confidentiality designation, all Parties and Non-

 Parties shall continue to afford the material in question the level of protection to which it is entitled

 under the Designating Party's designation until the Court rules on the challenge and, in so ruling,

disallows or alters the designation.

6.       ACCESS TO AND USE OF PROTECTED MATERIAL
         6. l    Basic Principles: Protected Material may be disclosed only to the categories of

persons and under the conditions described in this Protective Order. When the Actions have been

terminated, a Receiving Party must comply with the provisions of section 12 below (Final

Disposition). Protected Material must be stored and maintained by a Receiving Party at a location

and in a secure manner that ensures that access is limited to the persons authorized under this

Protective Order. Each person who has access to Protected Material must take all due precautions

to prevent the unauthorized or inadvertent disclosure of such material.

        6.2     Non-Disclosure Agreement:         Before disclosing any Protected Material to any

person or entity referred to in subparagraphs 6.3 or 6.4 below, counsel must provide a copy of this

Protective Order to such person or representative with authority to bind the entity, who must sign

a Non-Disclosure Agreement in materially the same form annexed as Exhibit A to this Protective

Order stating that he or she has read this Protective Order and that he or she or the entity, as

applicable, agrees to be bound by its terms. Said counsel must retain each signed Non-Disclosure

Agreement, hold it in escrow, and produce a copy to opposing counsel before such person is
permitted to testify at deposition or trial.




                                                   9
      Case 2:17-cv-02592-GJP Document 38 Filed 02/02/18 Page 10 of 22




        6.3     Disclosure of "CONFIDENTIAL" Information or Items: Unless otherwise ordered

by the Court or permitted in writing by the Designating Party, a Receiving Party may disclose any

Protected Material designated as "CONFIDENTIAL" only to:

        (a) the Receiving Party's Outside Counsel of Record in the Actions, as well as employees

of said Outside Counsel of Record, to whom it is reasonably necessary to disclose the information

for the prosecution or defense of the Actions;

        (b) the Receiving Party, including officers, directors, and employees (including House

Counsel) of the Receiving Party, to whom disclosure is reasonably necessary for the prosecution

or defense of the Actions;

       (c) the Receiving Party's Parents' officers, directors, employees, or consultants/advisors

(i) to whom disclosure is reasonably necessary for the prosecution or deit.'Jlse of the Actions, and

(ii) who have signed the Non-Disclosure Agreement (Exhibit A);

       (d) persons whom a Party or Outside Counsel of Record for a Party believes in good faith

are likely to be called to give testimony, through deposition, affidavit, or at trial, on information

contained in Protected Material designated as "CONFIDENTIAL"; provided, however, that such

persons have signed the Non-Disclosure Agreement (Exhibit A);

       (e) Witnesses during a deposition or hearing in these Actions to whom the disclosure of

Protected Material designated as "CONFIDENTIAL" is reasonably necessary (including for

impeachrnent purposes); provided, however, that such witnesses have signed the Non-Disclosure

Agreement (Exhibit A). In the event a witness refuses to sign the Non-Disclosure Agreement

(Exhibit A), the witness may not be shown the Protected Material designated as
"CONFIDENTIAL" absent an order from the Court;

       (f) Experts (as defined in this Protective Order), Profossional Vendors (as defined in this

Protective Order) and mock jurors of the Receiving Party to whom disclosure is reasonably

necessary for these Actions and who have signed the Non-Disclosure Agreement (Exhibit A);
       (g) the Court and its personnel;

       (h) court reporters and their staff;
                                                 10
       Case 2:17-cv-02592-GJP Document 38 Filed 02/02/18 Page 11 of 22




        (i) the author or recipient of a document containing the information or a custodian or other

 person who otherwise possessed the information; and

        G) any mediator or settlement officer, and their supporting personnel, mutually agreed upon
 by any of the Parties engaged in settlement discussions and who have signed the Non-Disclosure

 Agreement (Exhibit A).
        6.4     Disclosure of ''HIGHLY CONFIDENTIAL-ATTORNEYS' EYES ONLY"

Information or Items: Unless otherwise ordered by the Court or permitted in writing by the

Designating Party, a Receiving Party may disclose any Protected Material designated as "HIGHLY

CONFIDENTIAL-ATTORNEYS' EYES ONLY" only to:

        (a) the Receiving Party's Outside Counsel of Record in the At.1ions, as well as employees

of said Outside Counsel of Record, to whom it is reasonably necessary to disclose the information
for the prosecution or defense of the Actions;

        (b) Two House Counsel for a Receiving Party or Parent who have signed the Non-

Disclosure Agreement (Exhibit A), provided, however, that where the Actions are controlled or

directed for multiple Receiving Parties by a single Parent, only, and no more than, two House

Counsel of said Parent shall be permitted access to the Protected Material designated as "IHGHL Y
CONFIDENTIAL-ATTORNEYS' EYES ONLY";

       (c) up to three persons who are officers, directors, employees, or consultants/advisors (in

addition to House Counsel) of each Receiving Party or Parent (i) to whom disclosure is reasonably

necessary for the prosecution or defense of the Actions, (ii) who have signed the Non-Disclosure

Agreement (Exhibit A), and (iii) who do not make decisions on behalf of a Receiving Party or

Parent regarding the purchase oflife insurance policies on the secondary or tertiary market for life

insurance policies, provided, however, that where the Actions are controlled or directed for

multiple Receiving Parties by a single Parent, no more than a total of three, in the aggregate,

persons who are officers, directors, employees, or consultants/advisors of said Receiving Parties

or said Parent shall be permitted access to Protected Material designated as "HIGHLY
CONFIDENTIAL-ATTORNEYS' EYES ONLY";
                                                 11
      Case 2:17-cv-02592-GJP Document 38 Filed 02/02/18 Page 12 of 22




        (d) Witnesses during a deposition or hearing in the Actions to whom the disclosure of

Protected Material designated as "HIGHLY CONFIDENTIAL-ATTORNEYS' EYES ONLY"

is reasonably necessary (including for impeachment purposes); provided, however, that such

witnesses have signed the Non-Disclosure Agreement (Exhibit A). In the event a witness refoses

to sign the Non-Disclosure Agreement (Exhibit A), the witness may not be shown the Protected

Material designated as ·'HIGHLY CONFIDENTIAL--ATTORNEYS' EYES ONLY", and

neither the witness nor the witness' counsel shall be provided a copy of or access to the Protected

Material designated as "HIGHLY CONFIDENTIAL-ATTORNEYS' EYES ONLY" absent an

order from the Court;
       (e) Experts (as defined in this Protective Order) of the Receiving Party (i) to whom

disclosure is reasonably necessary for these Actions, and (ii) who have signed the Non-Disclosure

Agreement (Exhibit A);

       (f) the Court and its personnel;

       (g) court reporters and their staff;

       (h) mock jurors, and Profossional Vendors to whom disclosure is reasonably necessary for

these Actions and who have signed the Non-Disclosure Agreement (Exhibit A);

       (i) the author or recipient of a document containing the information or a custodian or other

person who otherwise possessed the information; and

       G) any mediator or settlement officer, and their supporting personnel, mutually agreed upon

by any of the Parties engaged in settlement discussions and who have signed the Non-Disclosure

Agreement (Exhibit A).

       6.5     Limits on Use of Discovery and Disclosure Material: Recipients of Discovery or

Disclosure Material may use such material solely for the prosecution and defense of the Actions

and any appeals thereto, and not for any business, commercial or competitive purpose or in any

other litigation proceeding. No person who examines any Discovery or Disclosure Material shall

disseminate orally, or by any other means, any Discovery or Disclosure Material other than as

permitted by this Protective Order. Nothing contained in this Protective Order, however, will
                                                12
        Case 2:17-cv-02592-GJP Document 38 Filed 02/02/18 Page 13 of 22




 affect or restrict the rights of any Party with respect to its own documents or information produced

 in the Actions or to documents publicly filed.

 7.      PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN
         OTHER LITIGATION
         Nothing in this Protective Order will prevent any Party from producing any Protected

 Material in its possession in response to a lawful subpoena or other compulsory process, or if

 required by law or by any government agency having jurisdiction, provided that such Party follows

the procedures set forth herein.

         If a Party is served with a subpoena or a court order issued in other litigation that compels

disclosure of any information or items designated in the Actions as Protected Material that Party

must:

        (a) promptly provide Notice to the Designating Party so as to maximize the time the

Designating Party has in which to seek relief. Such notification shall include a copy of the
subpoena or court order;

        (b) promptly provide Notice to the party who caused the subpoena or order to issue in the

other litigation that some or all of the material covered by the subpoena or order is subject to this

Protective Order. Such notification shall include a copy of this Protective Order; and

        (c) cooperate with respect to all reasonable procedures sought to be pursued by the

Designating Party whose Protected Material may be atiected.

        1fthe Designating Party timely seeks a protective order, the Party served with the subpoena

or court order shall not produce any Protected Material before a determination by the court from

which the subpoena or order issued, unless the Party has obtained the Designating Party's

permission. The Designating Party shall bear the burden and expense of seeking protection in that

court of its confidential material and nothing in these provisions should be construed as authorizing

or encouraging a Receiving Party in the Actions to disobey a lawful directive from another court.




                                                  13
       Case 2:17-cv-02592-GJP Document 38 Filed 02/02/18 Page 14 of 22




 8.     A NON-PARTY'S PROTECTED MATERIAL SOUGHT TO BE PRODUCED IN
        THIS LITIGATION
        The terms of this Protective Order are applicable to information produced by a Non-Party

 in these Actions and designated as Protected Material. Such information produced by Non-Parties

 in connection with these Actions is protected by the remedies and relief provided by this Protective

 Order. Nothing in these provisions should be construed as prohibiting a Non-Party from seeking

additional protections.

9.      UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
        If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed Protected

Material to any person or in any circumstance not authorized under this Protective Order, the

Receiving Party must immediately (a) notify in ~Titing the Designating Party of the unauthorized

disclosures, (b) use its best efforts to retrieve all unauthorized copies of the Protected Material, (c)

inform the person or persons to whom unauthorized disclosures were made of all the terms of this

Protective Order, and (d) request such person or persons to execute the Non-Disclosure Agreement

(Exhibit A).

10.     INADVERTENT PRODUCTION                         OF   PRIVILEGED         OR      OTHERWISE
        PROTECTED MATERIAL
        This Protective Order shall be interpreted to provide the maximum protection allowed by

Federal Rule of Evidence 502(d). Pursuant to Federal Rule of Evidence 502(d) and (e}, the Parties

agree that the inadvertent or unintentional disclosure by the Producing Party of material that is

privileged or subject to other protection shall not be deemed a waiver in whole or in part of the

claim of privilege or other protection, either as to the specific infom1ation disclosed or as to any

other information relating thereto on the same or related subject matter. The provisions of Federal

Rule of Evidence 502(b) are inapplicable to the production of documents or infonnation under this

Protective Order. Specifically, there has been no waiver ifa Party discloses privileged or protected

information, regardless of whether the Party took reasonable steps to prevent the disclosure or to

rectify the error.   When a Producing Party gives Notice to Receiving Parties that certain

inadvertently produced material is subject to a claim of privilege or other protection (e.g., work

                                                  14
       Case 2:17-cv-02592-GJP Document 38 Filed 02/02/18 Page 15 of 22




product immunity), the obligations of the Receiving Parties are those set forth in Federal Rule of

Civil Procedure 26(b)(5)(B).
        Upon learning of an inadvertent or unintentional disclosure of privileged documents or

information (the "I.D. Protected Material"), the Producing Party shall promptly provide Notice

thereof to the Parties who have received the l.D. Protected Material, identifying the l.D. Protected

Material by Bates number and privilege protection relied upon. Within five (5) business days of

the date of that written Notice, the Receiving Party shall sequester, destroy, or return to the

Producing Party the T.D. Protected Material so identified and all copies thereof, and in the same

time frame, shall sequester or destroy any notes or other writing or recordings that copy,

summarize, reflect, discuss, or are derived from the l.D. Protected Material (collectively, the

"LD.P.M. Notes"). Upon request of the Producing Party, the Receiving Party shall provide Notice

of any sequestration or destruction of the l.D. Protected Material and sequestration or destruction

of the I.D.P.M. Notes pursuant to this paragraph. No use shall be made ofLD. Protected Material

or I.D.P.M. Notes during deposition or at trial, and other than in connection with proceedings

contemplated by the last paragraph of Section 10 of this Order, the Receiving Party, its employees,

Outside Counsel and Experts shall not provide any I.D. Protected Material or I.D.P.M. Notes to,

or discuss any LD. Protected Material or I.D.P.M. Notes with, anyone who did not already have

access to l.D. Protected Material prior to the request by the Producing Party that it be returned.

        Consistent with the ethical obligations imposed by Rule 4.4(b) of the Pennsylvania Rules

of Professional Conduct, upon receiving a disclosure that the Receiving Party knows orreasonably

should know inadvertently or unintentionally contains privileged or otherwise protected

documents or information ("Suspected LD. Protected Material"), the Receiving Party shall

promptly provide Notice to the Producing Party of such disclosure, including identifying the

Suspected l.D. Protected Material by Bates number. Thereafter, the Receiving Patty shall make

no use whatsoever of the Suspected l.D. Protected Material until the expiration of a period of five

(5) business days from delivery of the aforesaid Notice to the Producing Party, provided, however,

that if, prior to the expiration of said five (5) business day period, the Producing Party shall provide
                                                   15
       Case 2:17-cv-02592-GJP Document 38 Filed 02/02/18 Page 16 of 22




 to the Receiving Party the Notice specified in the immediately preceding paragraph of this

 Protective Order that covers the Suspected l.D. Protected Material, the Receiving Party shall treat

 the Suspected I.D. Protected Material to which said Notice refers as I.D. Protected Material in the

 manner specified in the immediately preceding paragraph and in the succeeding paragraph of this

 Protective Order.

        Within a reasonable time:frame, and only after undertaking actions in compliance with

Section C.2 ofJudge Pappert's Policies and Procedure, the Receiving Party may move the Court

for an order compelling production of any I.D. Protected Material in compliance with the Federal

and Local Rules. If the Receiving Party places the dispute before the Court pursuant to Section

C.2, the Producing Party shall, ifrequested by the Court, provide the Court with one copy of the

I.D. Protected Material at issue for in-camera review in connection with such proceedings. Unless

the Designating Party has agreed to withdraw the claim of privilege or other protection with respect

to I.D. Protected Material, the LD. Protected Material shall enjoy the protection claimed by the

Designating Party unless and until the Court, in ruling on the aforesaid motion for an order

compelling production, invalidates or otherwise ovem1les the protection claimed by the
Designating Party.

ll.     MISCELLANEOUS

        11. l    Right to Further Relief: Nothing in this Protective Order abridges the right of any
person to seek its modification by the Court in the future.

        1 I .2   Right to Assert Other Objections: Nothing contained in this Protective Order will

be construed as (a) a waiver by a Party or person ofits right to object to any discovery request; (b)

a waiver of any privilege or protection; (c) a ruling regarding the admissibility at trial of any

document, testimony or other evidence; or (d) a waiver by a Party or person of any right it

otherwise would have to object to disclosing or producing any information or item on any ground
not addressed in this Protective Order.

       11.3      Filing Protected Material:   A Party that seeks to file any Protected Material

designated as "CONFIDENTIAL" or "HIGHLY CONFIDENTIAL-ATTORNEYS' EYES
                                                 16
      Case 2:17-cv-02592-GJP Document 38 Filed 02/02/18 Page 17 of 22




ONLY" must comply with Local Rules 5.1.2, 5.1.3, 5.1.5 and Judge Pappert's Policies and

Procedures and :file the material under seal, unless the Designating Party gives its written

permission to file in the public record.

        In every submission or filing with the Court, every document (including motions,

memoranda, deposition transcripts and other items) containing "CONFIDENTIAL" or "HIGHLY

CONFIDENTIAL--ATTORNEYS' EYES ONLY" infonnation shall be filed with the Clerk

under seal in an envelope or container on the face of which shall be stamped:

        CONFIDENTIAL
        This envelope contains documents which are filed under seal in this case by [name of Party]
        and, by Order of this Court, dated              , 2018, shall not be opened nor the contents
        displayed or revealed except as provided in that Order or by further order of the Court.

Submissions filed under seal shall not be available for inspection except by the Court and

authorized persons as set forth in Paragraph 6 of this Order.

        Should the Court deny a Party's motion to file the information under seal, the filing Party

will notify the Producing Party of its intent to publicly re-file the information and the Parties will

negotiate in good faith regarding the confidential designation including the possibility of

redactions to certain information. The Producing Party will have seven (7) days to move for

reconsideration of the Court's order or a protective order from the Court regarding the information

prior to the information being publicly re-filed.


12.    FINAL DISPOSJTION

       After the final disposition of the Actions, as defined in Section 3 (Duration), within 60 days

of a written request by the Designating Party, each Receiving Party must return all Protected

Material to the Producing Party or destroy such material. As used in this subdivision, "all Protected

Material'' includes all copies, abstracts, compilations, summaries, and any other format

reproducing or capturing any of the Protected Material. Whether the Protected Material is returned


                                                    17
     Case 2:17-cv-02592-GJP Document 38 Filed 02/02/18 Page 18 of 22




or destroyed, the Receiving Party must submit a written certification to the Producing Party (and,

if not the same person or entity, to the Designating Party) by the 60 day deadline that (1) identifies

(by category, where appropriate) all the Protected Material that was returned or destroyed and (2)

affirms that the Receiving Party has not retained any copies, abstracts, compilations, summaries

or any other format reproducing or capturing any of the Protected Material. Notwithstanding this

provision, Counsel are entitled to retain archival copies of all pleadings, motion papers, trial,

deposition, and hearing transcripts, legal memoranda, correspondence, deposition and trial

exhibits, expert reports, attorney work product, and consultant and expert work product, even if

such materials contain Protected Material. Any such archival copies that contain or constitute

Protected Material remain subject to this Protective Order as set forth in Section 3 (DURATION).


DONE AND ORDERED in Chambers at            this~ay off~, 2018.




                                                18
Case 2:17-cv-02592-GJP Document 38 Filed 02/02/18 Page 19 of 22
      Case 2:17-cv-02592-GJP Document 38 Filed 02/02/18 Page 20 of 22




                                            EXHIBIT A

                                    Non-Disclosure Agreement

        I, _ _ __                             _ _ _ _ _ _ [print or type full name] of
                    _ _ _ _ _ _ _ _ _ _ _ _ _ _ [print or type full address] declare under
penalty of perjury that:
        I have read and I understand the terms of the Stipulated Confidentiality and Protective
Order ("Protective Order") entered on                     , 2018, in In re: Lincoln National CO!
Litigation, Case No.: 16-cv-06605-GJP and EFG Bank AG. Cayman Branch, et al. v. The Lincoln
National Life Ins. Co., Case No.: 17-cv-02592-GJP, pending in the United States District Court
for the Eastern District of Pennsylvania. I agree to comply with and be bound by the provisions
of the Protective Order. I understand that any violation of the Protective Order may subject me to
sanctions by the Court. I shall not divulge any documents, or copies of documents, designated
"CONFIDENTIAL" or "HIGHLY CONFIDENTIAL-ATTORNEYS' EYES ONLY'' obtained
pursuant to such Protective Order, or the contents of such documents, to any person other than
those specifically authorized by the Protective Order. I shall not copy or use such documents
except for the purposes of these Actions and pursuant to the terms of the Protective Order.
       As soon as practical, but no later than 30 days after final termination of these Actions, I
shall return to the attorney from whom I have received them, any documents in my possession
designated "CONFIDENTIAL" or "HIGHLY CONFIDENTIAL-ATTORNEYS' EYES
ONLY" and all copies, excerpts, summaries, notes, digests, abstracts, and indices relating to such
documents. I submit myself to the jurisdiction of the United States District Court for the Eastern
District of Pennsylvania for the purpose of enforcing or othervvise providing relief relating to the
Protective Order.




Executed on:----------·---·-··- By:
                [Date]                                       [Signature]
Case 2:17-cv-02592-GJP Document 38 Filed 02/02/18 Page 21 of 22
      Case 2:17-cv-02592-GJP Document 38 Filed 02/02/18 Page 22 of 22




                                           EXHIBIT B

                                           Notice List

The following counsel have been designated by the Parties to receive Notice pursuant to Section
1.11 of the Stipulated Confidentiality and Protective Order:
For Defendants:
   Milbank, Tweed, Hadley & McCloy LLP: Stacey J. Rappaport, Michael L. Hirschfeld,
   Aaron L. Renenger
For In re: Lincoln National COI Litigation Plaintiffs:
   Barrack, Rodos & Bacine: Jeffrey W. Golan, Stephen R. Basser, Lisa M. Port
   Susman Godfrey LLP: Steven G. Sklaver, Seth Ard; Lucas lssacharotl; Jillian Hewitt
   Bonnett Fairbourn Friedman & Balint, P.C.: Andrew Friedman, Francis J. Balint Jr., Kimberly
   Page

   The Moskowitz Law Firm, PLLC: Adam Moskowitz, Howard Bushman

For EFG Bank AG. Cayman Branch, et al., v. The Lincoln National L(fe Ins. Co. Plaintiffs:
   Orrick, Herrington & Sutcliffe, LLP: Khai LeQuang, Ric T. Fukushima, Geoffrey Moss
